    Case: 1:19-cv-07486 Document #: 117 Filed: 06/12/24 Page 1 of 2 PageID #:645




                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

ARKITA COURTNEY, as Guardian of the Estate )
of ZECHARIAH COURTNEY, a minor,            )
                                           )
              Plaintiffs,                  )
                                           )
       v.                                  )
                                           )                  No. 19 CV 7486
UNITED STATES OF AMERICA and               )
ADVOCATE HEALTH AND HOSPITALS              )                  Honorable Sara L. Ellis
CORPORATION, an Illinois Corporation,      )
by and through its authorized              )
agents and employees,                      )
                                           )
              Defendants.                  )

                                   JOINT STATUS REPORT

       The parties, by their undersigned attorneys, hereby submit the following joint status report

pursuant to this court’s January 11, 2024 order (Dkt. 108):

       (a)     Status of discovery: The parties have completed fact discovery.

       (b)     Status of settlement discussion: The parties have engaged in initial, informal

settlement discussions and agree that expert reports will need to be exchanged to facilitate those

discussions. The parties do not unanimously consent to referring this matter to the magistrate

judge for settlement purposes at this time.

       (c)     Proposed schedule: Plaintiff disclosed some expert material on March 22, 2024.

The Court previously ordered that the defendants disclose experts and complete Rule 26(a)(2)

requirements by June 21, 2024 (Dkt. 112). Defendant United States expects to serve its expert

disclosures by that date. Defendant Advocate has filed an Unopposed Motion for Extension of

Time to extend the deadline for an additional sixty days or until August 21, 2024 (Dkt. 116). That

motion is noticed for presentment on June 18, 2024.       Because as many as 15-20 experts are
    Case: 1:19-cv-07486 Document #: 117 Filed: 06/12/24 Page 2 of 2 PageID #:646




expected among the parties, the parties propose to revisit settlement discussions following

defendants’ expert disclosures to determine whether the time and expense of expert depositions

may thereby be avoided. The parties further propose to provide the court with an update on the

prospects for settlement, including possible referral to a magistrate judge for a settlement

conference, by a joint status report to be filed on or before September 21, 2024.



Respectfully submitted,


/s/ Edward W. McNabola
__________________________________
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